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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION


  In re Flint Water Cases.               Judith E. Levy
                                         United States District Judge
  ________________________________/

  This Order Relates To:

  ALL CASES

  ________________________________/

            ORDER SETTING DEADLINES RELATED TO
            DECEMBER 21, 2022 STATUS CONFERENCE

       The next status conference will be held on Wednesday December

 21, 2022 at 1:00 pm. Parties are to file proposed agenda items in Case

 No. 16-10444 by Wednesday December 14, 2022. The Court will issue an

 agenda by Monday, December 19, 2022.

 IT IS SO ORDERED.

 Dated: December 1, 2022                  s/Judith E. Levy
 Ann Arbor, Michigan                      JUDITH E. LEVY
                                          United States District Judge



                      CERTIFICATE OF SERVICE

      The undersigned certifies that the foregoing document was served
 upon counsel of record and any unrepresented parties via the Court’s
Case 5:16-cv-10444-JEL-EAS ECF No. 2286, PageID.74166 Filed 12/01/22 Page 2 of 2




 ECF System to their respective email or first-class U.S. mail addresses
 disclosed on the Notice of Electronic Filing on December 1, 2022.

                                           s/William Barkholz
                                           WILLIAM BARKHOLZ
                                           Case Manager




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